              Case 1:17-cv-03583-PKC-SMG Document 1-1 Filed 06/14/17 Page 1 of 2 PageID #: 9
JS44 (Rev 06 17)                                                           CIVIL COVER SHEET
The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service ofpleadings orother papers asrequired bylaw, except as
provided by local rules ofcourt. This form, approved by the Judicial Conference ofthe United States in September 1974, is required for the use ofthe Clerk ofCourt for the
purpose of initiating thecivil docketsheet (SEE INSTRUCTIONS ON NEXTPAGE OF THIS FORM.)
L(a) PLAINTIFFS                                                                                                 DEFENDANTS
DUKENS JEROME                                                                                                 The City of New York, John Doe Police Officers A-F

    (b) County ofResidence ofFirst Listed Plaintiff                  Kings County                               County ofResidence of First Listed Defendant                New York
                                (EXCEPTIN U.S. PLAINTIFF CASES)                                                                               (IN U.S. PLAINTIFFCASESONLY)
                                                                                                                NOTE:       IN LAND CONDEMNATION CASES, USE THE V
                                                                                                                           THE TRACT OF LAND INVOLVED.
                                                                                                                                                                             IN CLERK'S OFFICE
                                                                                                                 Attorneys (IfKnown)                                  U.S. DISTRICT COURT E.D.N.Y.
                          m Name, Address, an

Mangan Ginsberg LLP, 80 Maiden Lane, Suite 304,                                  HEN, J                       Corporation Counsel
                                                                                                                                                                      *           JUN H 2017 *
(212)248-2170                                                                                                 100 Church Street


II. BASIS OF JURISDICTION (Placean -X" inOne Box Only)
                                                                          GOLD,                    I
                                                                                                              New York, New York 10038
                                                                                                        c m ZENSHIP OF PRINCIPAL PARTDE
                                                                                                            (For Diversity Cases Only)                                 ©
G   1   U.S. Government              H 3 Federal Question                                                                               PTF     DEF
          Plaintiff                             (U.S. Government Not a Party)                          Citizen ofThis State             O 1     O     1   Incorporated or Principal Place
                                                                                                                                                            of Business In This State


G 2     U.S. Government              O 4      Diversity                                                Citizen of Another State         O 2     O     2   Incorporated and Principal Place           O 5      G5
                                                                                                                                                            of Business In Another State

        SUMMONS iSSUED                                                                                 Citizen or Subject of a
                                                                                                         Foreign Country
                                                                                                                                        O 3     O     3   Foreign Nation                             O   6    O 6


                                                                                                                                                 Click here for: Nature of Suit Code Descriptions.
1          CUMKACT                                               "1UKIS •-"'     • -    • •"'            FORFEITURE/PENALTY                       BANKRUPTCY                    OTHER STATUTES -".'                 1
G 110 Insurance                        PERSONAL INJURY                     PERSONAL INJURY             G 625 Drug Related Seizure          O 422 Appeal 28 USC 158               O 375 False Claims Act
O 120 Marine                        G 310 Airplane                     G 365 Personal Injury -               of Property 21 USC 881        O 423 Withdrawal                      O 376 Qui Tarn (31 USC
O 130 Miller Act                    G 315 Airplane Product                   Product Liability         O 690 Other                                  28 USC 157                         3729(a))
G 140 Negotiable Instrument               Liability                    G 367 Health Care/                                                                                        G 400 State Reapportionment
O 150 Recovery of Overpayment O 320 Assault, Libel &                          Pharmaceutical                                                   PROPERTY RIGHTS                   O 410 Antitrust
      & Enforcement of Judgment       Slander                                 Personal Injury                                              O 820 Copyrights                      G 430 Banks and Banking
• 151 Medicare Act              G 330 Federal Employers'                      Product Liability                                            G 830 Patent                          O 450 Commerce
•   152 Recovery of Defaulted                Liability                 G 368 Asbestos Personal                                             G 835 Patent - Abbreviated            G 460 Deportation
        Student Loans               G 340 Marine                              Injury Product                                                        New Drug Application         G 470 Racketeer Influenced and
     (Excludes Veterans)            G 345 Marine Product                      Liability                                                    O 840 Trademark                              Corrupt Organizations
O 153 Recovery of Overpayment                Liability                    PERSONAL PROPERTY                          LABOR                    SOCIAL SECURITY                    G 480 Consumer Credit
        of Veteran's Benefits       O 350 Motor Vehicle                O 370 Other Fraud               G 710 Fair Labor Standards          O 861HIA(1395ff)                      O 490 Cable/Sat TV
O 160 Stockholders' Suits           O 355 Motor Vehicle                O 371 Truth in Lending                  Act                         O 862 Black Lung (923)                O 850 Securities/Commodities/
D 190 Other Contract                         Product Liability         O 380 Other Personal            O 720 Labor/Management              G 863 DIWC/DIWW (405(g))                 Exchange
O 195 Contract Product Liability    O 360 Other Personal                     Property Damage                   Relations                   O 864 SSID Title XVI               G 890 Other Statutory Actions
O 196 Franchise                           Injury                       O 385 Property Damage           O 740 Railway Labor Act             O 865 RSI (405(g))                 G 891 Agricultural Acts
                                    O 362 Personal Injury -                  Product Liability         G 751 Family and Medical                                                  G 893 Environmental Matters
                                          Medical Malpractice                                                  Leave Act                                                         G 895 Freedom of Information
1       . REALPROPKRTY .: :             CTVILRIGHTS                    PRISONER PETITIONS              O 790 Other Labor Litigation            FEDERAL TAX SUITS                        Act
G 210 Land Condemnation             IX 440   Other Civil Rights           Habeas Corpus:               G 791 Employee Retirement           G 870 Taxes (U.S. Plaintiff           O 896 Arbitration
O 220 Foreclosure                   O 441    Voting                    G 463 Alien Detainee                  Income Security Act                 or Defendant)                   G 899 Administrative Procedure
O 230 Rent Lease & Ejectment        G 442    Employment                O 510 Motions to Vacate                                             O 871 IRS—Third Party                       Act/Review or Appealof
O 240 Torts to Land                 O 443    Housing/                        Sentence                                                               26 USC 7609                        Agency Decision
O 245 Tort Product Liability                 Accommodations            O 530 General                                                                                             G 950 Constitutionality of
O 290 All Other Real Property       G 445 Amer. w/Disabilitics -      O 535 Death Penalty                      IMMIGRATION                                                              State Statutes
                                             Employment            Other:                              G 462 Naturalization Application
                                    G 446 Amer. w/Disabilitics - G 540 Mandamus & Other                G 465 Other Immigration
                                             Other                    O 550 Civil Rights                      Actions
                                    G 448 Education                   G   555 Prison Condition
                                                                      O 560 Civil Detainee -
                                                                             Conditions of
                                                                             Confinement

V. ORIGIN (Place an "X" inOne Box Only)
1*1 Original    O 2 Removed from                          •      3    Remanded from               O 4 Reinstated or              5 Transferred from       O 6     Multidistrict           •   8 Multidistrict
        Proceeding              State Court                           Appellate Court                  Reopened                    Another District               Litigation -                     Litigation -
                                                                                                                   (specify)                       Transfer                                     Direct File
                                        Cite the U.S. Civil Statute under which you arc filing (Donotcitejurisdictional statutes unlessdiversity):
                                        42 USC 1983
VI. CAUSE OF ACTION
                                        Brief description of cause:
                                        False Arrest, Malicious Prosecution, Monell Claim
Vn. REQUESTED IN                        O      CHECK IF THIS IS A CLASS ACTION                            DEMAND $                                    CHECK YES only if demanded in complaint:
         COMPLAINT:                            UNDER RULE 23, F.R.Cv.P.                                     300,000.00                                JURY DEMAND:         & Yes      ONo




    RECEIPT #


             ^5~?//<W2
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                                  . CERTIFICATION OF ARBITRATION ELIGIBILITY
Local Arbitration Rule 83.10 provides thatwith certain exceptions, actions seeking money damages only inan amount not inexcess of$150,000,
exclusive of interest and costs, are eligible for compulsory arbitration. The amount of damages is presumed to be belowthe threshold amount unless a
certification to the contrary is filed.

Is Michael p. Mangan          }counselfor p^ff                     , do hereby certify that the above captioned civil action is
ineligible for compulsory arbitration for the following reason(s):

          ED          monetary damages sought are in excess of$150,000, exclusive of interest and costs,
          •           the complaint seeks injunctive relief,

          •           the matter is otherwise ineligible for the following reason

                              DISCLOSURE STATEMENT - FEDERAL RULES CIVIL PROCEDURE 7.1


                      Identify any parent corporation and any publicly held corporation that owns 10% or more or its stocks:




                                RELATED CASE STATEMENT (Section VIII on the Front of this Form)

Please list all cases that are arguably related pursuant to Division of Business Rule 50.3.1 in Section VIII on the front of this form. Rule 50.3.1 (a)
provides that "A civil case is "related" to another civil case for purposes of this guidelinewhen, becauseof the similarityof facts and legal issuesor
becausethe cases arise from the same transactions or events,a substantial savingof judicial resourcesis likely to result from assigningboth cases to the
samejudge and magistratejudge." Rule 50.3.1 (b) providesthat" A civil case shall not be deemed "related" to anothercivil case merely becausethe civil
case: (A) involves identical legalissues, or (B) involves the sameparties." Rule 50.3.1 (c) further providesthat "Presumptively, and subjectto the power
of a judge to determine otherwise pursuant to paragraph (d), civil cases shall not be deemed to be "related" unless both cases are still pending before the
court."


                                                 NY-E DIVISION OF BUSINESS RULE 50.1(d)(2)

1.)       Is the civil action being filed in the Eastern District removed from a New York State Court located in Nassau or Suffolk
          County:^£

2.)       If you answered "no" above:
          a) Did the events or omissions giving rise to the claim or claims, or a substantial part thereof, occur in Nassau or Suffolk
          County? NO

          b) Did the events or omissions giving rise to the claim or claims, or a substantial part thereof, occur in the Eastern
          District? yes

If your answer to question2 (b) is "No," does the defendant(or a majority of the defendants, if there is more than one) reside in Nassau or
Suffolk County, or, in an interpleader action, does the claimant (or a majority of the claimants, if there is more than one) reside in Nassau
or Suffolk County?
             (Note: A corporation shall be considered a resident of the County in which it has the most significant contacts).

                                                                    BAR ADMISSION


I am currently admitted in the Eastern District of New York and currently a member in good standing of the bar of this court.
                        S       Yes                                    •       No
Are you currently the subject of any disciplinary action (s) in this or any other state or federal court?
                        |~|     Yes       (Ifyes, please explain)      [x]     No




I certify the accuj^y^ofall information provided above.

Signature:                                   kuJtekdl&*«#*
